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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF IOWA
                              CENTRAL DIVISION


AKRUM WADLEY, JONATHAN
PARKER, MARCEL JOLY, AARON
                                             Case No. 4:20-cv-366
MENDS, MAURICE FLEMING,
REGGIE SPEARMAN, KEVONTE
MARTIN-MANLEY, DARIAN
COOPER, LARON TAYLOR,
BRANDON SIMON, JAVON FOY,
ANDRE HARRIS, and TERRENCE
HARRIS
                                            MOTION FOR EXTENSION OF
Plaintiffs,                                 TIME TO FILE RESPONSE TO
                                            DEFENDANTS’ MOTION TO
vs.                                         DISMISS FIRST AMENDED
                                            COMPLAINT
UNIVERSITY OF IOWA, BOARD OF
REGENTS FOR THE STATE OF                    [UNOPPOSED]
IOWA, GARY BARTA, KIRK
FERENTZ, BRIAN FERENTZ,
CHRISTOPHER DOYLE, and
RAIMOND BRAITHWAITE,

       Defendants.

       COME NOW the Plaintiffs, and in support of their Unresisted Motion for

Extension of Time to File a Response to the Defendants’ Motion to Dismiss,

pursuant to LR 7d (2), respectfully state to the court as follows:

       1.     Defendants filed a Motion to Dismiss on December 14, 2020.

       2.     On January 13, 2021, Plaintiffs filed their First Amended Complaint.

       3.     Defendants filed a Motion to Dismiss the First Amended Complaint on

January 25, 2021.
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        4.    On February 8, 2021, Plaintiffs filed an unresisted motion to enlarge

their deadline to resist.

        5.    The court granted the motion and reset the deadline to February 22,

2021.

        6.    Since that time, the Southern United States has experienced

extraordinary severe winter weather.

        7.    The inclement weather left Plaintiffs’ out-of-state counsel and families

experiencing and addressing power outages and water shortages.

        8.    Consequently, additional time is needed to file the resistance to

Defendants’ Motion to Dismiss.

        9.    This extension will not adversely impact either party and would be in

the interest of justice.

        10.   Counsel for the Defendants consents to the request.

        11.   Good cause exists to grant the motion.

        WHEREFORE, Plaintiffs pray that the court enters an order extending the

deadline for Plaintiffs to file a response to the Defendants’ Motion to Dismiss to and

including March 1, 2021.




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                                                          PARRISH KRUIDENIER DUNN GENTRY
                                                          BROWN BERGMANN & MESSAMER, L.L.P.


                                                               By: ___________________________________
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                                                           PROOF OF SERVICE
      The undersigned certifies that the foregoing instrument was served upon all parties to the above cause by:
      ()         personal service                                      ()        first class mail
      ()         certified mail, return receipt requested              ()        facsimile
      ()         Airborne Express (overnight)                          (X)       CMECF
                                                                       ()        e-mail
      on February 22, 2021.
      I declare that the statements above are true to the best of my information, knowledge, and belief.

                                                                               /s/ Anita Soderblom
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